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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


SKY HARBOR ATLANTA                       :
NORTHEAST, LLC, and CRESTLINE            :
HOTELS & RESORTS, LLC,                   :
                                         :
      Plaintiffs,                        :
                                         :
v.                                       :
                                         :
AFFILIATED FM INSURANCE,                 :        CIVIL ACTION NO.
COMPANY,                                 :        1:17-cv-3910-AT
                                         :
      Defendant.                         :

                                     ORDER

      This matter is before the Court on the parties’ Joint Motion for Entry of

Stipulated Protective Order for Confidential Information [Doc. 71]. The Court

has reviewed the proposed order and determined that the parties have not

complied with the Court’s procedures regarding Confidentiality Agreements,

Protective Orders, and Motions to Seal set forth in Section III(f) of the Court’s

Standing Order and Guidelines to Parties and Counsel in Cases Proceeding

Before the Honorable Amy Totenberg. The parties’ Stipulated Protective Order,

as proposed, does not satisfy the good cause standard under Fed. R. Civ. P. 26(c)

for this order to be entered.

      In Section III(f) of the Court’s Standing Order, provides that confidentiality

of proceedings is the exception, not the rule, and the mere agreement by the

parties that documents should be designated as confidential does not
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automatically satisfy the Rule 26(c) good cause standard for filing materials

under seal on the public docket. (Doc. 14 at 22-23.) In addition, as stated in the

Court’s Standing Order, it is the general policy of this Court not to allow the filing

of documents under seal without a Court order, even if all parties consent to the

filing under seal. See LR App H, Section II(J), NDGa. Parties must therefore

request leave of court to file material designated as “confidential” under seal in

accordance with the mechanism described in Section II(J) of Appendix H to the

Court’s Local Civil Rules.

      The parties missed this requirement by stating: “If any Confidential

Information is filed with the Court as part of a motion, brief, or other pleading,

that information shall be filed under seal pursuant to the Federal Rules of Civil

Procedure and/or any Court Order equally applicable to all Parties.           At any

hearing or proceeding in which any document covered by this Order is referred

to, revealed or discussed, either party may request that the hearing or proceeding

be conducted in chambers. Any records made of such proceedings shall also be

sealed until further order of the Court, if any.” (Doc. 71 § 7 at p. 8.)

      Thus, the Court DENIES WITHOUT PREJUDICE the parties’

Proposed Stipulated Protective Order [Doc. 17]. The parties are DIRECTED to

re-file the proposed order after revising it to be consistent with Section III(f) of

the Court’s Standing Order and the good cause standard under Federal Rule of

Civil Procedure 26(c).




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SO ORDERED this 29th day of August, 2018.



                      _____________________________
                      Amy Totenberg
                      United States District Judge




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